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13
14
                                UNITED STATES DISTRICT COURT
15
                                        DISTRICT OF ARIZONA
16
     Meta Platforms, Inc., et al,                 Case No. 2:20-cv-00470-GMS
17
                          Plaintiffs,             DEFENDANTS’ STATEMENT OF
18                                                NON-OPPOSITION TO PLAINTIFFS’
            v.                                    UNOPPOSED MOTION TO
19                                                TRANSFER DOMAIN NAMES TO
     Namecheap, Inc., et al.,                     PLAINTIFFS
20
                          Defendants.
21
     AND RELATED COUNTERCLAIMS.
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 1          On April 20, 2022, Plaintiffs filed their Unopposed Motion to Transfer Domain
 2   Names to Plaintiffs. ECF No. 192. As indicated in the motion, Defendants hereby state that
 3   they do not oppose the motion or entry of the amended proposed order (ECF No. 193)
 4   granting Plaintiffs’ motion.
 5
 6   DATED: April 21, 2022                  ROME & ASSOCIATES, A.P.C.
 7
                                            By: /s/ Brianna Dahlberg
 8                                          Eugene Rome
 9                                          Sridavi Ganesan
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14                                          Counterclaimants, Namecheap, Inc. and
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